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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF LOUISIANA



KONG DUONG, NUOI HAN, RAN VAN TRAN *
DAVID VAN, TAM VU, BAO HUNG, MY T.                     *   MDL 2179
TRAN, LUONG XUAN PAHM, KANDY TRAN *
NHAN NGUYEN, TRUYEN TRAN, HUONG LE *
QUAN TRAN, HIEP AN CAO, THUAN VAN LE *
CUC VAN HUYNH, NUOI VAN PHAM, TOM *                        JUDGE BARBIER
CONG HUYNH, KHANH HUYNH, TINH                          *
NGUYEN, HUY VO, KENT VO, LAN DO, DAI *                     SECTION J
LE, KHANH NGUYEN, ANH LY, KINH                         *
NGUYEN, DAN DO, LOC VAN NGUYEN, JULIE*                     MAGISTRATE JUDGE
THANH NGUYEN, KONG DUONG, THAI TRAN*                       WILKINSON
SINH PHAM, SAK DAKARITH, CHAMROEUN *
DUONG, LIM SENG, CHAMREOEUN KANG, *                        MAG DIV. 2
SIENG SUONG, DRANSON PHAM, DONG                        *
NGUYEN, BICH BUI & SU NGUYEN                           *
                                                       *
VS.                                                    *
                                                       *
BP AMERICA PRODUCTION COMPANY, BP *
EXPLORATION AND PRODUCTION, INC.,                      *
DRC EMERGENCY SERVICES, LLC, & DANOS *
AND CUROLE MARINE CONTRACTORS, LLC *
                                                       *
                                                       *
Member Case: Duong et al. v. BP America                *
Production, et al., 12-814                             *
* * * * * * * * * * * * * ** * * * * * * * * * * * * * *

   PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’
 “MOTION TO STAY PROCEEDINGS PENDING IMPLEMENTATION OF BP
              DEEPWATER HORIZON SETTLEMENT.”
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       Plaintiffs, a class of Southeast Asian American fishermen residing in the United

States Gulf Coast, filed this suit against Defendants, BP America Production Company,

BP Exploration and Production, Inc., and their contractors, for violating Section 1891 of

the Civil Rights Act of 1866.       The Defendants now move the Court to stay this

proceeding by arguing that the Multidistrict District Litigation Settlement Agreement

(“Settlement Agreement”) also encompasses the Plaintiffs’ civil rights claim, and that a

claimant who signs a general release under the Settlement Agreement would essentially

extinguish his/her race discrimination claim under this lawsuit.

       The Defendants’ argument cannot be sustained for the following reasons: 1) the

subject settlement release does not encompass the Plaintiffs’ race discrimination claim; 2)

construing the Settlement Agreement to also include the Plaintiffs’ claim of race

discrimination would violate Plaintiffs’ due process rights; 3) construing the subject

release to not cover the Plaintiffs’ race discrimination claim prevents a lengthy and

complicated collateral attack against the MDL’s Settlement Agreement; and 4) the public

policy intent behind the Civil Rights Act necessitates the preservation and expeditious

rendering of this lawsuit.

                                   INTRODUCTION

       On April 20, 2010, an explosion on the oil vessel Deepwater Horizon in the Gulf

of Mexico caused the most devastating, unprecedented environmental disaster in the

history of the United States. The explosion caused oil to gush out from the Macondo

Well into the Gulf of Mexico destroying marine and coastal environments and created

ongoing economic hardship for hundreds of thousands of people along the Gulf Coast.

To contain and clean up the spill, BP initiated the Vessel of Opportunity (“V.o.O.”)
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Program through which commercial fishermen and others were contracted to assist in the

clean up. On October 19, 2010, this Court entered its Case Management Order No. 1,

wherein it directed a Master Complaint to be filed on behalf of the thousands of

individuals who were victims of the oil spill seeking damages for physical injuries, costs

of future medical screening and monitoring, the implementation of a medical screening

and monitoring program and/or property damage resulting from clean-up efforts after the

explosion.   The Master Complaint (Document 879) is incorporated by reference as

Plaintiffs’ Exhibit A. Subsequently, a First Amended Master Complaint was filed further

alleging and clarifying the acts of negligence of BP in causing the explosion on the

Deepwater Horizon and the subsequent oil spill. The First Amended Master Complaint

(Document 1128) is incorporated by reference and attached hereto as Plaintiffs’ Exhibit

B. Nowhere in the Master Complaint and the First Amended Master Complaint is the

issue of race discrimination alleged. After the Vessel of Opportunity term ended on

November 26, 2010, individuals who contracted to work in the program filed suit against

BP and its contractors alleging a breach of contract under the terms of the Master Vessel

Charter Agreement. The Court then ordered that the suits in connection with the V.o.O.

Program be consolidated and resolved under the Multidistrict Litigation by the Plaintiff

Steering Committee.     A preliminary settlement was reached between BP and the

Plaintiffs’ Steering Committee for economic and property damage claims in connection

with the oil spill on, or about March of 2012. This lawsuit was then filed independently

of the MDL in the US District Court for the Eastern District of Louisiana alleging race

discrimination against BP and its contractors in the implementation of the V.o.O.

Program. The Defendants then filed this motion to stay proceedings.
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                                      ARGUMENT

A) THE SETTLEMENT AGREEMENT DOES NOT EMCOMPASS RACE
DISCRIMINATION.


       Whether or not a stay is appropriate in this situation will turn upon whether the

issues incorporated into the MDL’s Settlement Agreement and the issues of this case rest

upon “substantially similar” claims. The Plaintiffs allege in the instant suit that the

Defendants violated Section 1891 of the Civil Rights Act of 1886 in their hiring practices

in connection with the Vessel of Opportunity Program. This issue is wholly different

from the issue considered in MDL’s Settlement Agreement in fact and in law.             The

Master Complaint filed pursuant to CMO No. 1, and the subsequent First Amended

Complaint, only sought damages for victims of the oil spill under the Oil Pollution Act of

1990 and other related maritime tort law. The Vessel of Opportunity lawsuits were filed

under a breach of contract theory in connection with the Master Vessel Charter

Agreement signed between BP and their contractors and the commercial fishermen. As

the title of the Settlement Agreement succinctly conveys, the agreement only addresses

issues in connection with economic and property damages as a result of the Deepwater

Horizon incident. The issue of race discrimination was never litigated, nor was it even

contemplated during the negotiation process that produced the MDL’s Settlement

Agreement. Thus, if the Honorable Court were to review the Settlement Agreement

(Document 6430), which the Plaintiffs have incorporated by reference and attached

hereto as Plaintiffs’ Exhibit C, the Court will see that the words “race discrimination” are

nowhere to be found in the entire 1033-page document, nor have the Defendants’
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produced an affidavit from anyone who was involved in the negotiation process that

produced the MDL’s Settlement Agreement alleging that the issue of race discrimination

was fully presented, argued, and fully incorporated into the Settlement Agreement. Now

the Defendants argue that the Settlement Agreement covers even the Plaintiffs’ race

discrimination claim! In arguing that the Settlement Agreement also encompasses the

Plaintiffs’ race discrimination claim, the Defendants try to get rid of these claims through

the back door like a thief in the night, and in so doing uproot all notions of what is legal,

just, and fair.

        While it is true that some courts have stayed cases where the claim of a different

ongoing legal proceeding is not identical to the claim before those courts, courts do not

grant stays when those claims are substantially different. Save Power v. Syntek Fin. Corp,

121 F.3d 947, at 950 (5th.Cir. 1997). In Save Power v. Syntek, the Fifth Circuit applied

the “substantially similar” test to a ‘first to file’ case, where the question was whether

courts can dismiss, transfer, or stay a case pending the resolution of a similar case that

was filed first. Id. at 950. Cases “should be more than merely related.” Buckalew v.

Celanese, Ltd., No Civ. A. G-05-315, 2005 WL 2266619, *3 (S.D. Tex. Sept. 16, 2005);

Save Power, 121 F.3d at 950 (stating that “[t]he crucial inquiry is one of substantial

overlap.”).

        The litany of cases cited by the Defendants argues against their own motion as

the courts in these cases use the “substantially similar” test to decide whether to stay

proceedings.      Importantly, in this matter, the facts and law in this case have no

similarities to the issues incorporated in the Settlement Agreement. In Meints v. Regis

Corp., the District Court of the Southern District of California stayed a new lawsuit for
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labor violations because a class action case on nearly identical labor violation claims was

pending. 2010 WL 3058300 (S.D. Cal. Aug. 2, 2010) (citing Nakash v. Marciano, 882

F.2d 1411, 1416-1417 (9th Cir.1989), the 9th Circuit case that outlines the “substantially

similar” test). See Fitzer v. American Institute of Baking, Inc., T 2010 WL 1955974

(S.D. Ga. May 13, 2010) (a stay pending the distribution of a compensation fund for

victims of salmonella, the exact cause of action of the plaintiff); Lindley v. Life Investors

Ins. Co. of Amer., 2009 WL 3296498 (N.D. Ok. Oct. 9, 2009) (a state claim versus the

fairness of an identical nationwide claim); In re RC2 Corp. Toy Lead Paint Products

Liability Litigation, 2008 WL 548772, at *5 (N.D. Ill. Feb. 20, 2008) (citing similar

plaintiffs and similar claims “for breach of warranties, consumer fraud, negligence,

etc.”); etc. In the case at bar, the Defendants have failed to cite an example where a court

stayed a proceeding to await the result of another proceeding on a substantially different

claim.

         On the other hand, Courts have rejected motions to stay under the “substantially

similar” test. See Holder v. Holder, 305 F.3d 854 (9th Cir. 2002) (finding the District

Court erred in holding that issues raised in “state custody proceedings were substantially

similar to the federal Hague Convention proceedings.”); Sadid v. Idaho State Univ., 4:11-

cv-00103-BLW (D. Idaho March 12, 2012) (dismissing a motion to stay because

settlement of an ongoing claim would not resolve a key issue in the new claim; citing,

Intel v. Adv’d Micro Devices, 12 F.3d 908, 913 (9th Cir. 1993).


         Courts have routinely rejected settlements with overly broad releases. See, e.g.,

National Super Spuds, Inc. v. New York Mercantile Exchange, 660 F.2d 9, at 18-19

(reversing district court’s approval of class settlement agreement with over broad release
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provision that provided for uncompensated release of unliquidated potato futures

contracts that were not encompassed within the class complaint concerning liquidated

contracts); Petruzzi’s, Inc. v. Darling-Delaware Co., Inc., 880 F. Supp. 292, 299-301

(M.D. Pa. 1995) (rejecting class settlement requiring release of all class members’ claims

when only one-half of class received any direct economic benefit from agreement);

Apparicio v. Radioshack Corp., 2009 WL 1490560, *2 (C.D.Cal. May 21, 2009); Cf.

Vasquez v. Coast Valley Roofing, Inc., 670 F.Supp.2d 1114 (E.D.Cal. November 17,

2009) (finding significant in granting preliminary approval of class settlement, “[t]hese

released claims appropriately track the breadth of Plaintiffs’ allegations in the action and

the settlement does not release unrelated claims that class members may have against

defendants.”). Some jurisdictions have the principle of closely scrutinizing class

settlement terms that are outside the scope of the operative complaint. See National Super

Spuds, 660 F.2d at 18 (“If a judgment after trial cannot extinguish claims not asserted in

the class action complaint, a judgment approving a settlement in such an action should

not be able to do so either.”); TBK Partners, Ltd. v. Western Union Corp., 675 F.2d 456,

460-61 (2nd Cir. 1982) (holding that class action settlement agreement enjoining class

members from prosecuting claims that were not part of the class complaint was properly

approved by the district court since the released claims arose out of the identical factual

predicate as the claims in the complaint); Trotsky v. Los Angeles Fed. Sav. & Loan Assn.,

48 Cal.App.3d (1975).

       In regards to the matter at hand, the issue of race of discrimination was never

alleged in the Master Complaint, the First Amended Master Complaint, or in any V.o.O.

related complaints. The words “race discrimination”—or even simple “discrimination”—
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are nowhere to be found in the MDL’s Settlement Agreement. Thus, any release signed

under the Settlement Agreement cannot encompass the claim of race discrimination.

Pursuant to the above cited jurisprudence, if a claimant in this case were to sign a general

release under the Settlement Agreement, he/she would only relinquish claims that are part

of the Settlement Agreement, not claims that are outside its reach.

B) TO DO WHAT THE DEFENDANTS REQUEST WOULD VIOLATE DUE
PROCESS.

       The Defendants argue that if Plaintiffs sign the Settlement Agreement’s release,

which seeks to cover “all claims arising out of, due to, resulting from, or relating in any

way to, directly or indirectly, the Deepwater Horizon Incident”, Plaintiffs cannot pursue

their claims under the Civil Rights Act of 1866, which bars racially discriminative

practices in hiring and contracting.       If this Honorable Court were to accept the

Defendants’ argument, then an issue arises: whether the Plaintiffs in this proceeding were

afforded the due process of law guaranteed by the U.S. Constitution. The notion that the

individual litigant possesses a constitutional right to his day in court before his rights may

be judicially altered has long served as a guide for the shaping of modern procedure. The

concept “due process of law” has been understood as “[a]n orderly proceeding wherein a

person is served with notice, actual or constructive, and has an opportunity to be heard

and to enforce and protect his rights before a court having power to hear and determine

the case.” Kazubowshi v. Kazubowski, 45 Ill.2d 405, 259, N.E.2d 282 290; Black’s Law

Dictionary, 6th Edition, 500. As mentioned above, the issue in this proceeding was not

considered or even known about by the parties that negotiated the MDL Settlement

Agreement. The facts and law in this case differ greatly from the issues incorporated in
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the Settlement Agreement, which are mostly medical or economic losses stemming from

the Defendants’ negligence, recklessness, or breach of contract.         The issue of

discrimination surrounding this lawsuit has not been heard by this Honorable Court, the

facts have not been presented, and an agreement has not been discussed.             The

Defendants, in their motion to stay proceedings, simply assert that the general release

signed by the claimants under the Settlement Agreement extinguishes the claimants’ race

discrimination claim without presenting any evidence showing that the discrimination

issue was addressed by this Court and incorporated into the Settlement Agreement.

       In violation of due process of law, the Defendants are attempting to use the

Settlement Agreement to release them from every claim they can imagine, along with

claims the Defendants did not imagine when the settlement agreement was drafted. If the

Defendants were given their way, any lawsuit asserted against BP that included the words

oil spill and gulf coast would be barred by the settlement. Defendant’s overly broad

construction of the Settlement Agreement is unreasonable, unsubstantiated by legal

precedence, and violates due process of law guaranteed by the US Constitution.

C) CONSTRUING THE SETTLEMENT AGREEMENT TO NOT COVER RACE
DISCRIMINATION PREVENTS A LENGTHY COLLATERAL ATTACK.

       Defendants argue that staying the proceeding is judicially economical. However,

if the Court were to construe the Settlement Agreement to cover the Plaintiffs’ race

discrimination claim, then Plaintiffs must collaterally challenge the Settlement

Agreement and further tax the judiciary. Plaintiffs have a due process right to have a

Court litigate their discrimination lawsuit. To enforce this right, Plaintiffs must

collaterally challenge the Settlement Agreement, asserting that it does not address the
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 Plaintiffs’ race discrimination claim on two grounds: adequacy of representation and

 failure to provide notice.

        As a matter of due process, named plaintiffs in the prior action must have

 adequately represented absent class members. See Hansberry v. Lee, 311 U.S. 32 (1940);

 Amchem Products, Inc. v. Windsor, 521 U.S. 591 (1997). Inadequate representation can

 occur when class representatives fail to assert, or lack standing to assert, claims possessed

 by other members of the putative class. In re Methyl Tertiary Butyl Ether Prods. Liab.

 Litig., 209 F.R.D. 323, 339 (S.D.N.Y. 2002) (“Plaintiffs fail to cite, and this Court cannot

 find, any authority for the proposition that absent class members with personal injury or

 property claims can be adequately represented by class representatives seeking only

 injunctive relief.”) see also Thompson v. Am. Tobacco Co., 189 F.R.D. 544, 550–51 (D.

 Minn.1999); In re Teflon Prods. Liab. Litig., 254 F.R.D. 354, 366–68 (S.D. Iowa 2008);

 Feinstein v. Firestone Tire &Rubber Co., 535 F. Supp. 595, 606–07 (S.D.N.Y. 1982);

 Pearl v. Allied Corp., 102 F.R.D. 921, 922–24 (E.D. Pa. 1984); Krueger v. Wyeth, Inc.,

 No. 03CV2496 JLS, 2008 WL 481956, *2–4 (S.D. Cal. Feb. 19, 2008); Small v. Lorillard

 Tobacco Co., Inc., 252 A.D.2d 1, 11–12 (N.Y. App. Div. 1998).

        As for notice, settlement notices must “fairly apprise the prospective class

 members of the terms of the proposed settlement and of the options that are open to them

 in connection with proceedings.” Grunun v. International House of Pancakes, 513 F. 2d

 114, 122 (8th Cir. 1975). The Supreme Court’s decision in Mullane v. Central Hanover

 Bank & Trust has been interpreted to require that the class members be provided notice of

 the types of claims that are being settled. Twigg v. Sears, Roebuck & Co 153 F.3d 1222

 (11th Cir. 1998) (invalidating a class action settlement’s notice because “[t]he notices do
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 not alert a reader that the prior action included claims by Sears customers based upon

 being billed for services that Sears never performed.” )

        The Plaintiffs, here, can make a strong collateral challenge on both representation

 and notice grounds. It is unlikely that the negotiating parties discussed, considered, or

 even knew about a possible race discrimination claim. The MDL’s original complaint

 never mentioned race discrimination. The Defendants have not provided any evidence

 that the negotiating parties to the Settlement Agreement considered, or even knew about a

 possible discrimination claim. The negotiating parties cannot claim to have provided

 notice for a claim they did not even know existed nor can they reasonably assert that they

 adequately represented those claimants.

        If the Court were to accept the Defendants’ request, then the Court essentially

 rules that the issue of race discrimination has been settled when it is not, and the

 Plaintiffs would be deprived of their constitutional right to a day in court, which is a

 violation of the constitutional mandate of this great nation.


 D) THE PUBLIC POLICY UNDERLYING THE 1866 CIVIL RIGHTS ACT
 DEMAND THAT THE COURT RULE THAT THE SETTLEMENT
 AGREEMENT DOES NOT COVER THIS MATTER OR DENY DEFENDANTS’
 MOTION TO STAY

        Even if this Court rules that the Settlement Agreement covers this matter, the

 Court should overrule Defendants’ motion to stay because staying this proceeding will

 cause a financial burden for the Plaintiffs. If this Court grants the motion to stay,

 Plaintiffs will face two choices. The first choice is for Plaintiffs to opt into the Settlement

 Agreement and lose their race discrimination claim. The second is for Plaintiffs to opt out

 and wait indefinitely until this stay can be lifted. However, many Plaintiffs object to any
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 further delay because the Oil Spill has put them under intense financial strain. In the end,

 some Plaintiffs will have no choice but to opt back into the Settlement Agreement and

 lose their race discrimination claim without any proper legal consideration.

         The Defendants cited the sentence in Landis’s giving this Court the discretion to

 grant a motion to stay for the sake of judicial economy, but failing to cite the next

 sentences where Landis’s limit that discretion. Landis v. North American Co., 299 U.S.

 248, 256 (“True, the suppliant for a stay must make out a clear case of hardship or

 inequity in being required to go forward, if there is even a fair possibility that the stay for

 which he prays will work damage to someone else. Only in rare circumstances will a

 litigant in one cause be compelled to stand aside while a litigant in another settles the rule

 of law that will define the rights of both.”); Dise v.Express Marine, Inc., No. 08-1227,

 2008 WL 2163920, at *3 (S.D. Ala. May 19, 2008) (a court may consider the prudential

 advantages of a stay, “but must also examine the relative prejudice and hardship worked

 on each party if a stay is or is not granted.”).

         Public policies underlying the Civil Rights Act of 1866 are in favor of a ruling

 that the Settlement Agreement does not cover race discrimination claims and for the swift

 continuation of this matter. Courts must consider public policy when scrutinizing class

 settlements that have private/public concerns. See Brooklyn Sav. Bank v. O’Neill, 324

 U.S. 697, 706-707 (1945) (finding that private waivers of FLSA would “thwart the

 legislative policy [FLSA] was designed to effectuate”); United States v. City of

 Alexandria, 614 F.2d 1358, 1362 (5th Cir. 1980) (noting judicial duty to ensure class

 action settlement agreements are neither illegal nor contrary to public policy). When

 discrimination is involved, proponents of the class settlement bear the burden of proving
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 that the settlement represents a fair and reasonable resolution of class members’

 discrimination claims.    See, e.g., In re General Motors Corp. Pick-Up Fuel Tank

 Products Liability Litigation, 55 F.3d 768, 785 (3rd Cir. 1995), cert. denied, 516 U.S. 824

 (1995); Holmes v. Continental Can Co., 706 F.2d 1144, 1147 (11th Cir. 1983). In the

 case at bar, the Defendants fail to meet their burden.

        Congress enacted the Civil Rights Act of 1866 to redress the badges and incidents

 of slavery. Jones v. Alfred H. Mayer Co., 392 U.S. 409 (1968). The Act’s intent is not

 only to punish race discriminatory practices in hiring and contracting, but also to bring

 such practices into the public sphere. Here, the Defendants’ intention is apparent. The

 MDL’s complaint and the Settlement Agreement do not even hint at settling Plaintiffs’

 race discrimination claim. The Defendants obviously want the general release under the

 MDL Settlement Agreement to cover the Plaintiffs race discrimination claim, and hope

 that every single Plaintiff signs the Settlement Agreement. The intended result is that, in

 public, Defendants alleged discriminatory acts are hidden or minimized. Obscuring,

 minimizing, or delaying an answer to racism would go against Congressional intent.


                                      CONCLUSION

        Plaintiffs recognize the scandalous nature behind an allegation of race

 discrimination. If Defendants were not liable, then Defendants would also benefit from a

 swift adjudication of this matter. What the Court should not allow is for Defendants is to

 obscure or minimize this serious issue of discrimination; to pressure Plaintiffs into never

 bringing forth their race discrimination claim by tying their hands; to sign away their

 rights without due process of law; or to delay matters so that the Defendants’ acts appear
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 to have happened in the distant past. Public policy dictates a swift, open, and honest

 adjudication of a charge of racism.

        Justice and precedence dictate that this Court must deny the Defendants’ motion

 to stay, and issue a ruling that any release signed under the MDL Settlement Agreement

 does not affect the Plaintiffs’ discrimination claim.



                                                         RESPECTFULLY SUBMITTED:



                                                         s:\Ryan Beasley
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                              CERTIFICATE OF SERVICE

 I hereby certify that the above and foregoing response has been served on All Counsel by
 electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial
 Order No. 12, and that the foregoing was electronically filed with the Clerk of the Court
 of the United States District Court of the Eastern District of Louisiana by using the
 CM/ECF System, which will send notice in accordance with the procedures established
 in MDL 2179, on this 21st day of June, 2012


                                        s:\Ryan Beasley
                                        Ryan Beasley, Esq.
